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                                                           UNITED STATES DISTRICT COURT
                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                               CRIMINAL MINUTES - TRIAL

Case No: SACR 15-00122-JLS                                                                                                            Date: August 24, 2016
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PRESENT: HONORABLE JOSEPHINE L. STATON, U.S. District Judge

Terry Guerrero                                                          Deborah Paker                                  Annamartine Salick and Melissa Mills
 Deputy Clerk                                                           Court Reporter                                         Assistant U. S. Attorney

Interpreter: None                              Special Agents, Nicholas Vicencia and Noah Singer, present in court.
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    U.S.A. v. Defendant(s): Present Cust. Bond              Attorneys for Defendant(s):         Present App. Ret.

1) Peter Ronald Wexler                         X                 X                                        1) Marri Derby and Caleb Mason                         X               X

        DAY COURT TRIAL                                    2nd          DAY JURY TRIAL                                      Death Penalty Phase

        One day trial.                  Begun (1st day).                       X     Held & continued.                                Completed by jury verdict/submitted to Court.

        Jury is impaneled & sworn.                                      Peremptory Challenges filed as ordered.

        Opening statements made by Government and Defense.

X       Witnesses called, sworn and testified.                       Witness            ordered back                 , at 9:00 am.

X       Exhibits identified.                     X        Exhibits admitted.

        Government rests.                               Defendant(s)                       rest.

        Motion for mistrial by                              is           granted          denied               submitted.

        Motion for judgment of acquittal (FRCrP 29) is                    granted          denied               submitted.

        Closing arguments made.                      Preliminary instructions given.                               Bailiff/Matron sworn.

        Alternates excused.                    Jury retires to deliberate.                            Jury resumes deliberations.

        FINDING BY COURT AS FOLLOWS:                                                               FILED JURY VERDICT AS FOLLOWS:

        Dft #1:           Guilty on count(s)                                                       Not Guilty on count(s)
        Dft #2:           Guilty on count(s)                                                       Not Guilty on count(s)
        Dft #3:           Guilty on count(s)                                                       Not Guilty on count(s)

        Jury polled.                        Polling waived.                         Filed Jury Question(s).                                   Filed Jury Verdict.

        Filed Witness & Exhibit List(s).                               Filed Jury Instructions.                        Exhibit Release Form(s) prepared and filed.

        Dft #    Referred to Probation Office for Investigation & Report and matter continued to                  for sentencing. Defendant ordered to appear.
        Sentencing position papers are due no later than 2 weeks prior to sentencing with service on the assigned U.S. Probation Officer.

        Dft #            remanded to custody.                          Remand/Release #                issd.
        Dft #            released from custody.                        Remand/Release #                issd.

        Bond exonerated as to Dft #              .

    X   Case continued to August 25, 2016, at 8:30 a.m.                                   for         X         further trial                     further jury deliberation.

        Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.

        Trial subpoenaed documents returned to attorney for subpoenaing party.

 X      Other: Outside the presence of the jury, Court and counsel confer regarding Government’s objections to argument/evidence presented by Defense during opening
        statements.
 X      Other: Outside the presence of the jury, Court and counsel confer regarding jury instructions.
                                                                                                                                                                 6        : 25
                                                                                                               Initials of Deputy Clerk:                             tg

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